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14                             UNITED STATES DISTRICT COURT
15                          NORTHERN DISTRICT OF CALIFORNIA
16

17 IN RE TESLA, INC. SECURITIES                   Case No. 3:18-cv-04865-EMC
   LITIGATION
18
                                                  DEFENDANTS’ OPPOSITION TO
19                                                PLAINTIFF’S MOTION FOR PARTIAL
                                                  SUMMARY JUDGMENT
20
                                                  Date: March 10, 2022
21                                                Time: 1:30 p.m.
                                                  Location: Courtroom 5, 17th Floor
22
                                                  Judge: Hon. Edward Chen
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2                                    PRELIMINARY STATEMENT

 3          Plaintiff has litigated this case for nearly three years, taken numerous depositions, received

 4 hundreds of thousands of pages of documents, and now must contend with one basic truth: Elon

 5 Musk’s August 7, 2018 tweet informing the public that he was considering taking Tesla private was

 6 entirely truthful and cannot support the claims that Plaintiff brings—much less a motion for summary

 7 judgment. Mr. Musk was considering taking Tesla private at $420 a share. Funding was secured.

 8 There was investor support. These conclusions are supported by extensive contemporaneous

 9 evidence, including discussions with Saudi Arabia’s sovereign wealth fund (the “PIF”) and Tesla’s

10 Board, as well as the undisputed fact that there was sufficient funding for a go-private transaction,

11 from the PIF or otherwise. Plaintiff ignores all of this, ignores what Mr. Musk actually said (and

12 when), ignores what Mr. Musk truly believed, and instead creates strawman arguments that overlook

13 large swaths of evidence adduced during discovery. Far from “fraud,” Mr. Musk’s statements were an

14 effort to be open about a potential go-private transaction and to provide equal information to all Tesla

15 shareholders. Plaintiff has no valid claims, never mind ones that can be decided in his favor on

16 summary judgment. Plaintiff’s transparent attempt to avoid a trial on the merits should be rejected,

17 and the Court should deny Plaintiff’s motion in its entirety.

18          To obtain summary judgment, a plaintiff must show that there are no disputes as to any

19 material facts. A plaintiff cannot cherry pick certain facts and sweep the remaining inconvenient and

20 unhelpful facts under the rug. But that is precisely what Plaintiff does here, disregarding material

21 facts demonstrating, among other things, that:

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 2          These material facts go to the key elements of Plaintiff’s claims, and Plaintiff does not say a

 3 word about them. “A fact is material if it might affect the outcome of the case.” Jelinek v. Am. Nat’l

 4 Prop. & Cas. Co., 747 F. App’x 513, 514 (9th Cir. 2018) (emphasis added). The material facts

 5 detailed herein relate directly to the alleged falsity of Mr. Musk’s statements and thus must be

 6 evaluated by the jury. Moreover, the facts demonstrate that Mr. Musk believed his statements were

 7 true. Countless courts—including this Court—have held that “[g]enerally, scienter should not be

 8 resolved by summary judgment” and have denied summary judgment on that basis. Davis v. Yelp,

 9 Inc., 2021 WL 4923359, at *13 (N.D. Cal. Sept. 17, 2021) (Chen, J.).1 This is because “materiality

10 and scienter are both fact-specific issues which should ordinarily be left to the trier of fact.” Id.

11          Plaintiff’s motion on the element of reliance fares no better. Plaintiff cannot obtain summary

12 judgment on reliance without first establishing that Mr. Musk’s alleged misstatements were material.

13 But materiality is a question for the jury (see, e.g., Durning v. First Bos. Corp., 815 F.2d 1265, 1268

14 (9th Cir. 1987)), and it is easy to see why. It is not enough to point out that Tesla’s stock price moved

15 after Mr. Musk’s statements, as Plaintiff does here. That movement could have been caused by Mr.

16 Musk’s other indisputably true statements (e.g., that he was considering taking Tesla private or that

17 the PIF had heavily invested in Tesla). Indeed, when Mr. Musk disclosed further details concerning

18 the discussions about funding after his initial tweets, Tesla’s stock price hardly moved, suggesting that

19 the alleged misstatements were not material. Plaintiff has not even attempted to meet his burden on

20 this necessary element. This too is a question for the jury, not summary adjudication.

21          Defendants respectfully request that the Court deny Plaintiff’s motion in its entirety.

22                                       ISSUES TO BE DECIDED

23          (1) Numerous courts, including this one, have recognized that scienter is a question for the
24 jury. Plaintiff in this case ignores the abundance of documentary and contemporaneous evidence

25 demonstrating that Mr. Musk was considering taking Tesla private, that a premium of 20% over the

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         Howard v. Everex Sys., Inc., 228 F.3d 1057, 1060 (9th Cir. 2000); In re Volkswagen, 2017 WL
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   6041723, at *12 (N.D. Cal. Dec. 6, 2017); S.E.C. v. Jasper, 2009 WL 10701938, at *3 (N.D. Cal. Dec.
28 10, 2009); In re Twitter, Inc. Sec. Litig., 2020 WL 4187915, at *12 (N.D. Cal. Apr. 17, 2020).

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 5       B.      The PIF Agreed to Fund a Transaction to Take Tesla Private.

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14       D.      Mr. Musk Discussed Going Private With His Financial and Legal Advisors.

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25       E.      Mr. Musk Disclosed the Potential Go-Private Transaction Publicly on August 7.
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 1 [that] *all* current investors remain with Tesla even if we’re private,” and that the rationale for the

 2 take-private transaction was that it would be “way smoother & less disruptive as a private company.”

 3 (Exs. 10, 11.) Some investors interpreted “funding secured” consistently with what had occurred, as

 4 “a strong verbal commitment, with funds available and parties willing to execute quickly.” (Ex. 33.)

 5          Later that day, Mr. Musk emailed Tesla’s employees, a copy of which was then posted on

 6 Tesla’s blog, entitled “Taking Tesla Private.” (Ex. 12.) Mr. Musk reiterated, “I’m considering taking

 7 Tesla private at a price of $420/share,” and went on to explain his rationale. (Id.) He added that, “a

 8 final decision has not yet been made,” and the proposal “would ultimately be finalized through a vote

 9 of our shareholders.” (Id.) Mr. Musk linked to this blog post on his Twitter account, including a short

10 cover note: “Investor support is confirmed. Only reason why this is not certain is that it’s contingent

11 on shareholder vote.” (Ex. 13.)

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19                                                          The next morning, before the market opened,

20 Tesla’s Board announced that Mr. Musk had opened a discussion about taking Tesla private, and that

21 the Board was “taking the appropriate next steps to evaluate this.” (Ex. 26.)

22          F.      Mr. Musk Spoke with Investors and Advisors.

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12          H.      Mr. Musk Updated Shareholders With Additional Information on August 13.

13          Before the markets opened on August 13, Mr. Musk posted an “Update on Taking Tesla
14 Private” on Tesla’s blog. (Ex. 16.) The post included additional details regarding, among other

15 things, Mr. Musk’s funding discussions with the PIF, the potential structure of the transaction, and the

16 various actions that would need to be completed before the transaction could move forward. (Id.) Mr.

17 Musk explained why he said “funding secured” in his August 7 tweet. (Id.) Mr. Musk noted that he

18 had “engaged advisors to investigate a range of potential structures and options” to get to a “more

19 precise understanding” on how many shareholders might remain if Tesla became private. (Id.) The

20 market did not view this information as revelatory—Tesla’s stock price barely moved at all, and in

21 fact rose slightly in response to it, increasing from $355.49 to $356.41. (Ex. I.)

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26                                                                                Later that night, after the
27 close of trading, Mr. Musk posted that statement on his Twitter account. (Ex. K.)

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 1          I.      Given Shareholder Feedback, Mr. Musk Decided Tesla Should Remain Public.

 2          After the market closed on August 16, the New York Times published an article based on an

 3 interview with Mr. Musk. (Ex. 19.) The article made a number of unfounded assertions without

 4 providing any supporting evidence, including a statement by the reporter that funding for a take-

 5 private “was far from secure.” (Id.) The next day, Tesla’s stock price declined 9%. (Ex. I.). In

 6 contrast to the New York Times reporter’s claim, not only did Mr. Musk firmly believe funding was

 7 secured when he tweeted, in reality (per Mr. Musk’s discussions with the PIF) it was secured.

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15        Mr. Musk explained his decision to shareholders in a blog post the next day. (Ex. 229.)

16                                         LEGAL STANDARD

17          Summary judgment must be denied unless the moving party can demonstrate that (1) “there is
18 no genuine dispute as to any material fact” and (2) “the movant is entitled to judgment as a matter of

19 law.” Fed. R. Civ. P. 56(a) (emphasis added). “A fact is material if it might affect the outcome of the

20 case.” Jelinek, 747 F. App’x at 514 (emphasis added). When considering a motion for summary

21 judgment, “[t]he evidence of the non-movant is to be believed, and all justifiable inferences are to be

22 drawn in his favor.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986). Summary judgement

23 is not appropriate where “a reasonable jury could return a verdict for the nonmoving party.” Id. at

24 248. Courts may deny summary judgment “where there is reason to believe that the better course

25 would be to proceed to a full trial.” Id. at 255. This is especially so given that “[c]redibility

26 determinations, the weighing of the evidence, and the drawing of legitimate inferences from the facts

27 are jury functions, not those of a judge.” Id.

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 1                                               ARGUMENT

 2 I.       SUMMARY JUDGMENT SHOULD BE DENIED AS TO FALSITY.

 3          Despite ample support in the record showing Mr. Musk’s August 7 tweet being true, Plaintiff

 4 nonetheless persists in claiming that the following statements were false: (1) “Am considering taking

 5 Tesla private at $420. Funding secured.” (2) “Investor support is confirmed.” (3) “Only reason why

 6 this is not certain is that it’s contingent on a shareholder vote.” (4) “I have continued to communicate

 7 with the Managing Director of the Saudi fund. . . .” (Mot. at 17-23.)

 8          In securities cases, a statement is not false unless it “affirmatively creates an impression of a

 9 state of affairs that differs in a material way from the one that actually exists.” Reese v. BP Expl. Inc.,

10 643 F.3d 681, 687 (9th Cir. 2011) (citation and alteration omitted). Summary judgment on the

11 element of falsity must be denied if any reasonable jury could conclude that the statement at issue is

12 truthful. S.E.C. v. Platforms Wireless Int’l Corp., 617 F.3d 1072, 1094 (9th Cir. 2010). This is

13 because whether a statement is false “is a mixed question to be decided by the trier of fact.” Fecht v.

14 Price Co., 70 F.3d 1078, 1081 (9th Cir. 1995); S.E.C. v. Todd, 642 F.3d 1207, 1220 (9th Cir. 2011).

15 Summary judgment is thus improper where “there are triable questions of fact related to whether

16 statements . . . were misleading.” In re JDS Uniphase Corp. Sec. Litig., 2007 WL 2429593, at *20

17 (N.D. Cal. Aug. 24, 2007) (denying summary judgment).

18          Plaintiff has failed to show that there are no disputed facts concerning the truth of Mr. Musk’s

19 statements concerning a go-private transaction, and has failed to show that no reasonable jury could

20 find in Mr. Musk’s favor. Indeed, as the evidence ignored by Plaintiff shows, Mr. Musk’s statements

21 concerning a go-private transaction were truthful. Plaintiff’s motion therefore must be denied.

22          A.      Plaintiff Ignores Material Facts Showing it was Reasonable for Mr. Musk to State

23                  “Funding [Was] Secured” and “Investor Support [Was] Confirmed.”
24          Plaintiff argues that Mr. Musk’s statements about funding being secured were false because
25 they were based on “one 30-minute conversation [with the PIF] about potentially taking Tesla

26 private.” (Mot. at 3.) That is incomplete and false.

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 1 661 F. App’x 629, 637 (11th Cir. 2016) (where a defendant presents evidence demonstrating that a

 2 factual dispute exists, “the court has an obligation to allow a jury or judge to resolve the parties’

 3 differing versions of the truth at trial.”) (internal citation omitted, emphasis added).

 4          Not only must the jury decide factually whether “funding [was] secured,” the jury must also

 5 decide between the parties differing interpretations of what “funding secured” even means in this

 6 context. See, e.g., Washtenaw Cty. Employees' Ret. Sys. v. Walgreen Co., 2021 WL 5083756, at *7

 7 (N.D. Ill. Nov. 2, 2021) (jury must decide disputed meaning of “unusual activity,” as well as

 8 application of facts to that definition); Buxbaum v. Deutsche Bank AG, 196 F. Supp. 2d 367, 373

 9 (S.D.N.Y. 2002) (disagreement “as to the correct translation of ‘Übernahmegespräche’” (i.e., whether

10 it meant preliminary merger talks or advanced stage discussions) raised an issue of material fact and

11 therefore “is not a basis for summary judgment.”); In re REMEC Inc. Sec. Litig., 702 F. Supp. 2d

12 1202, 1223 (S.D. Cal. 2010) (“a jury must decide” whether the defendant’s statement that its gross

13 profit margin was “consistent” with its business plan was true or false).7

14          The cases cited by Plaintiff, on the other hand, do not support granting summary judgment as
15 to falsity. Platforms, 617 F.3d 1072, is the only case cited by Plaintiff in which a court granted

16 summary judgment on the issue of falsity. (Mot at 18-19.) In that case, the challenged press release

17 described a product with nine pages of detail, even though the product did not even exist and the

18 defendants even lacked the funding to build a single prototype. 617 F.3d at 1082, 94-95. It was thus

19 undisputed that the press release was false, the defendants knew it, and the defendants had no

20 evidence to the contrary. Id.

21          In Livid Holdings Ltd. v. Salomon Smith Barney, Inc., 416 F.3d 940 (9th Cir. 2005) (Mot. at
22 18), the defendants created an offering memorandum falsely stating that a corporation had already

23 received a $25 million investment. Id. at 945. The defendants and the corporation then used that

24 memorandum to solicit additional investors. Id. The court held only that the plaintiff’s allegations

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         In the motion, Plaintiff references the hearsay opinions of Egon Durban (Silver Lake) and Ryan
26 Brinkman (J.P. Morgan) in an effort to establish a self-serving definition of what the term “secured”
   means. (Mot. at 17.) First, neither Mr. Durban nor Mr. Brinkman was at the July 31 meeting between
27
   Mr. Musk and Mr. Al-Rumayyan, so they have no first-hand knowledge as to the PIF’s commitment
28 to take Tesla private. Second, their opinions cannot supplant the role of the jury.

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 1 were sufficient to survive dismissal (i.e., summary judgment was not at issue). Id. at 952. In S.E.C. v.

 2 Sourlis, 851 F.3d 139 (2d Cir. 2016) (Mot. at 21), the defendant affirmatively represented that she

 3 “had spoken to the original note-holders.” Id. at 145. The defendant’s statement was false because

 4 “no original note-holders existed and indeed no notes existed.” Id. (emphasis added).8

 5          These cases stand in stark contrast to the facts here, which demonstrate a sufficient basis for

 6 Mr. Musk’s statements that “funding [was] secured” and “investor support [was] confirmed.”

 7          B.      Plaintiff Ignores Material Facts Showing That Mr. Musk’s Statement Regarding

 8                  a “Shareholder Vote” Was Not Misleading.

 9          On August 7, 2018, Mr. Musk tweeted, “Investor support is confirmed. Only reason why this

10 is not certain is that it’s contingent on a shareholder vote.” (Ex. 13.) This tweet was truthful, but

11 Plaintiff argues that it was false because “there were also numerous contingencies to the transaction

12 before even getting to a shareholder vote.” (Mot. at 22.) However, Mr. Musk publicly disclosed these

13 other “contingencies” and clarified that Tesla was still considering the transaction.

14           Specifically, Mr. Musk linked a Tesla blog post to his August 7 tweet, which stated clearly

15 that he was “considering taking Tesla private,” “a final decision ha[d] not yet been made,” and “[t]his

16 proposal to go private would ultimately be finalized through a vote of [Tesla’s] shareholders.” (Ex. 12

17 (emphasis added).) Mr. Musk then posted additional details regarding the various actions that would

18 need to be completed, including “a final proposal,” “an appropriate evaluation process” by Tesla’s

19 special committee, “required regulatory approvals,” and ultimately “the plan [to] be presented to Tesla

20 shareholders for a vote.” (Ex. 53.9) Additionally, Tesla’s stock price closed up from the prior day’s

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22          Plaintiff cites two cases in support of his argument that the Court should consider the opinions
     of analysts in defining “funding secured.” (Mot. at 19.) However, in No. 84 Emp.-Teamster Joint
23   Council Pension Tr. Fund v. Am. W. Holding Corp., 320 F.3d 920 (9th Cir. 2003), the court did not
     “rely[] on analyst statements when determining cause of stock price movement,” as Plaintiff suggests.
24   (Mot. at 19.) Instead, the court held simply that the plaintiff’s arguments were sufficient to withstand
25   dismissal on the pleadings. Id. at 933, 936, 946. Plaintiff asserts that in U.S. v. Ferguson, 676 F.3d
     260 (2d Cir. 2011), the court “plac[ed] ‘substantial’ weight on ‘stock analysts’ when evaluating [the
26   allegedly false] statement.” (Mot. at 19.) That is false, as the Court was evaluating materiality, not
     falsity, and the Court said nothing about the weight of the stock analyst evidence. Id. at 274.
27      9
        The Court previously acknowledged Mr. Musk’s disclosure of this additional information: “Mr.
28 Musk then proceeds to identify significant hurdles that stand in the way of finalizing the transaction—

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 1 2021 WL 4923359 at *13; Phan, 500 F.3d at 908.

 2          First, Plaintiff misstates the facts, as Mr. Musk and Mr. Al-Rumayyan did not “end all

 3 negotiations.” (Mot. at 23.)

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12                                                                  that was not material to shareholders.

13 Omitted information is actionable only if it is material. Basic Inc. v. Levinson, 485 U.S. 224, 231–32

14 (1988) (“to fulfill the materiality requirement there must be a substantial likelihood that the disclosure

15 of the omitted fact would have been viewed by the reasonable investor as having significantly altered

16 the total mix of information made available”) (citation and quotation omitted).

17

18

19

20          Third, the securities laws “prohibit only misleading and untrue statements, not statements that
21 are incomplete.” Brody v. Transitional Hosps. Corp., 280 F.3d 997, 1006 (9th Cir. 2002) (emphasis in

22 original). “No matter how detailed and accurate disclosure statements are, there are likely to be

23 additional details that could have been disclosed but were not.” Id. The securities laws “do not create

24 an affirmative duty to disclose any and all material information. Disclosure is required . . . only when

25 necessary ‘to make . . . statements made, in the light of the circumstances under which they were

26 made, not misleading.” Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 44 (2011).

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 1 II.      SUMMARY JUDGMENT SHOULD BE DENIED AS TO SCIENTER.

 2          A.      Scienter is a Question for the Jury.

 3          Countless courts—including this Court—have held that “[g]enerally, scienter should not be

 4 resolved by summary judgment” and have denied summary judgment on that basis. Davis, 2021 WL

 5 4923359 at *13 (Chen, J.) (denying summary judgment where “there is a genuine issue of material

 6 fact as to whether Defendants made false or misleading statements, with scienter”); Howard, 228 F.3d

 7 at 1060; In re Volkswagen, 2017 WL 6041723 at *12 (“Court DENIES Plaintiffs’ motion for partial

 8 summary judgment on the issue of scienter” “because material issues of fact remain”); Jasper, 2009

 9 WL 10701938 at *3 (denying summary judgment and stating, “[a]lthough the SEC may ultimately

10 prove scienter with circumstantial evidence, the conflicting evidence here does not allow for a finding

11 that as a matter of law, Defendant possessed the requisite mental state to establish a securities fraud

12 claim”); In re Twitter, 2020 WL 4187915 at *12 (denying summary judgment where “a genuine

13 dispute exists as to whether Defendants acted with scienter in making the challenged statements”).

14          As this Court noted, summary judgment is typically improper in such cases because

15 “[m]ateriality and scienter are both fact-specific issues which should ordinarily be left to the trier of

16 fact.” Davis, 2021 WL 4923359 at *13 (Chen, J.) (citation omitted); Vucinich v. Paine, Webber,

17 Jackson & Curtis, Inc., 739 F.2d 1434, 1436 (9th Cir. 1984) (reversing summary judgment where “the

18 facts before the court were sufficient to raise factual questions as to defendant’s state of mind”); In re

19 Apple Computer Sec. Litig., 886 F.2d 1109, 1113 (9th Cir. 1989).

20          B.      There Is Ample Evidence that Mr. Musk Believed His Statements Were True.

21          To prevail on his motion, Plaintiff must show—as a matter of law—that Mr. Musk either
22 intended to “deceive, manipulate, or defraud” the public, or his behavior was a “reckless” and

23 “extreme departure from the standards of ordinary care” that goes beyond “even inexcusable

24 negligence.” Ernst & Ernst v. Hochfelder, 425 U.S. 185, 193 (1976); Howard, 228 F.3d at 1063.

25          Mr. Musk has presented numerous facts, including facts proving his state of mind at the time,
26 that demonstrate he had no such intent.

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 5             These facts demonstrate beyond a shadow of a doubt that Mr. Musk reasonably believed

 6 funding was secured, reasonably believed his public disclosures were accurate, and that Mr. Musk had

 7 the genuine desire to take Tesla private. Plaintiff may disagree with Mr. Musk’s beliefs and

 8 conclusions, which only underscores that these issues must go to the jury. Vucinich, 739 F.2d at 1436

 9 (reversing summary judgment in action alleging securities fraud and noting that motion can be denied

10 where “the defendant presents affidavits or other evidence establishing a lack of scienter”); Davis,

11 2021 WL 4923359 at *13 (Chen, J.) (denying summary judgment due to disputed material facts); In re

12 Volkswagen, 2017 WL 6041723 at *12 (N.D. Cal. Dec. 6, 2017); Jasper, 2009 WL 10701938 at *3; In

13 re Twitter, 2020 WL 4187915 at *12; Washtenaw, 2021 WL 5083756 at *7; Buxbaum, 196 F. Supp.

14 2d at 377.12 To the extent Plaintiff’s theory is that Mr. Musk revealed new and negative information

15 to investors regarding the status of funding through the August 13, 2018 blog post (Ex. 16), that

16 further undermines scienter for the August 7 tweets. See, e.g., McGovney v. Aerohive Networks, Inc.,

17 2019 WL 8137143, at *23 (N.D. Cal. Aug. 7, 2019) (defendant’s disclosure of additional information

18 “on the very topics they supposedly concealed undermines an inference of a deliberate omission”).

19 III.        SUMMARY JUDGMENT SHOULD BE DENIED AS TO RELIANCE.
20             To prevail on his Section 10(b) claims, Plaintiff must prove that he relied upon Defendants’
21 alleged misrepresentations. See Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258, 263

22
          12
            Plaintiff argues that “[a] defendant cannot defeat a fraud claim merely by asserting that he
23
     believed the statements were true.” (Mot. at 19.) But Mr. Musk does not simply state that he
24   “believed” his statements were true. Rather, Mr. Musk has put forth evidence showing that Mr. Al-
     Rumayyan represented that funding was secured, as well as contemporaneous evidence that Mr. Musk
25   believed it. See Gebhart v. S.E.C., 595 F.3d 1034, 1042 n.11 (9th Cir. 2010) (rejecting argument that
     defendants’ statements “are so false that defendants must have known they were false and must have
26   intended to mislead the public” where defendants “submitted sworn declarations testifying that they
     believed in good faith that their statements were true”) (quotation omitted). Summary judgment is
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     improper where the parties disagree as to the interpretation of the evidence, as the evidence must be
28   viewed “in the light most favorable to the nonmoving party.” Phan, 500 F.3d at 901.

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 1 (2014). Plaintiff has not put forward any evidence of direct reliance. Instead, Plaintiff seeks to invoke

 2 the rebuttable fraud-on-the-market presumption. (Mot. at 24.) The fraud-on-the-market presumption

 3 is based on the theory that an “investor who buys or sells stock at the price set by the market does so

 4 in reliance on the integrity of that price.” Halliburton, 573 U.S. at 268. Therefore, if an allegedly

 5 material fraudulent misrepresentation impacted the market price of the security, an investor can be

 6 presumed to have relied on the purportedly material misrepresentation. Id.

 7          As Plaintiff concedes, to invoke the fraud-on-the-market presumption, a plaintiff must prove

 8 by a preponderance of the evidence that “(1) the alleged misrepresentations were publicly known, (2)

 9 they were material, (3) the stock traded in an efficient market, and (4) the plaintiff traded the stock

10 between when the misrepresentations were made and when the truth was revealed.” (Mot. at 24

11 (emphasis added).) Even where Plaintiff proves these requirements, a defendant can rebut the

12 presumption through “[a]ny showing that severs the link between the alleged misrepresentation and

13 . . . the price received (or paid) by the plaintiff.” Halliburton, 573 U.S. at 269 (emphasis added).

14          Here, Plaintiff is not entitled to summary judgment on the element of reliance for at least two
15 independent reasons. First, there is a genuine dispute of material fact regarding at least one of the

16 requirements necessary to invoke the fraud-on-the-market presumption: materiality. Second, even if

17 there were no dispute the presumption could be invoked, there is a genuine dispute of material fact

18 regarding whether Defendants can rebut that presumption by, among other things, demonstrating that

19 when the purported “truth” was revealed, there was no price impact.

20          A.      There is a Genuine Dispute of Fact Regarding Materiality.
21          There is no dispute that Plaintiff must prove materiality to invoke the fraud-on-the-market
22 presumption for purposes of proving reliance. There also does not appear to be any dispute that

23 questions regarding materiality “are peculiarly ones for the trier of fact.” Durning, 815 F.2d at 1268

24 (quotation omitted). Indeed, Plaintiff’s own authorities say as much. (See Mot. at 25 (citing McCrary

25 v. Elations Co. LLC, 2014 WL 12561600, at *12 (C.D. Cal. Dec. 8, 2014) (“Materiality is generally a

26 question for the jury”) (internal quotation marks omitted)).)

27                                                                                      Despite this uphill
28 battle, Plaintiff spends all of two sentences—citing six paragraphs in an expert report—to support its

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 1 claim that there are no genuine disputes of fact regarding whether the purportedly false portion of Mr.

 2 Musk’s tweet, “funding secured,” was material. (Mot. at 24 (citing Hartzmark Class Cert. Report,

 3 ECF No. 291-1 at ¶¶ 71.76).)13 Those cited paragraphs say nothing more than that there was a stock

 4 movement following Mr. Musk’s allegedly false tweet. But as a matter of law, a stock price

 5 movement alone is insufficient to prove materiality. See, e.g., In re Allied Cap. Corp. Sec. Litig., 2003

 6 WL 1964184, at *6 (S.D.N.Y. Apr. 25, 2003).

 7           Moreover, inferring materiality from stock movements in this case would be particularly

 8 inappropriate since there is no dispute that Mr. Musk’s tweet also contained the undisputedly true

 9 disclosure that Mr. Musk was considering taking Tesla private. The jury is entitled to conclude that

10 Tesla’s stock price increase—which is the evidence Plaintiff relies upon to prove materiality to invoke

11 the presumption—was not attributable to the allegedly false portion of Mr. Musk’s tweet. This is

12 particularly true where, as noted above, there is a dispute regarding what a reasonable investor would

13 understand Mr. Musk’s allegedly false statements to mean. Therefore, the jury will be required to

14 determine what “funding secured” even meant, and that determination will obviously impact the jury’s

15 determination of the materiality of the statement (and the allegedly undisclosed information).

16           Notably, the evidence actually supports the conclusion that—whatever the market believed the

17 statement meant—it was the indisputably true portion of Mr. Musk’s tweet that the market deemed

18 material rather than the allegedly false information. For example, on August 13, 2018, Mr. Musk

19 provided further detail regarding the proposed transaction.

20

21                              Similarly, a public sell-side analyst from Barclays noted that Mr. Musk’s

22 August 13, 2018 blog post “made it clear that the funding was in its very early stages.” (Ex. M.) Yet,

23 despite the purported revelation that funding was far different than Plaintiff’s theory of what the

24 market understood “funding secured” to mean, Tesla’s stock did not decline in a statistically

25 significant manner. (Ex. L at ¶¶ 100-108.)

26
        13
            Because Plaintiff does not even attempt to produce evidence regarding the purported
27
   materiality of any of the other alleged misstatements—another basis to deny summary judgment—
28 Defendants respond solely to the materiality allegations regarding “funding secured.”

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 2           Thus, the jury is entitled to conclude that the lack of any decline following these purported

 3 revelations regarding the meaning of “funding secured” proves that the “funding secured” portion of

 4 Mr. Musk’s tweet was immaterial. Teamster, 320 F.3d at 949 (“[T]he static or dynamic nature of

 5 a stock price after the disclosure of previously withheld information is strong evidence of how

 6 reasonable investors view the significance of the information.”) (Tallman, J., dissenting); Oran v.

 7 Stafford, 226 F.3d 275, 282 (3d Cir. 2000) (“[I]f a company’s disclosure of information has no effect

 8 on stock prices, ‘it follows that the information disclosed . . . was immaterial as a matter of law.’”)

 9 (Alito, J.) (citation omitted). Accordingly, because there is a genuine issue of dispute regarding the

10 materiality of the allegedly false information, there is a genuine issue of dispute regarding whether the

11 fraud-on-the-market presumption can be invoked and whether reliance can be established. Hsingching

12 Hsu v. Puma Biotechnology, Inc., 2018 WL 4945703, at *4-5 (C.D. Cal. Oct. 5, 2018) (denying

13 summary judgment on reliance through fraud-on-the-market presumption where material disputes

14 regarding materiality).14

15           B.      There is a Genuine Dispute of Fact Regarding Defendants’ Ability to Rebut Any
16                   Fraud-On-The-Market Presumption.
17           Even assuming Plaintiff had established all of the necessary requirements to invoke the fraud-
18

19      14
              Plaintiff’s authorities are not to the contrary. In the sole case in which a court granted a
20   plaintiff summary judgment on the issue of reliance, In re Celestica Inc. Sec. Litig., 2014 WL
     4160216 (S.D.N.Y. Aug. 20, 2014), “Defendants opposed Plaintiffs’ motion [solely] on the basis that
21   the Supreme Court’s decision in Halliburton . . . , might overrule Basic and change the law regarding
     the fraud on the market presumption,” which did not occur. Id. at *5 n.3. They did not oppose the
22   motion on the basis that the allegedly false information was immaterial, as Defendants do here. In
     Kaplan v. Rose, 49 F.3d 1363, 1378 (9th Cir. 1994), abrogated on other grounds by City of Dearborn
23
     Heights Act 345 Police & Fire Ret. Sys. v. Align Tech., Inc., 856 F.3d 605 (9th Cir. 2017), the court
24   partially affirmed defendants’ motion for summary judgment on the inapplicability of the fraud-on-
     the-market presumption and overturned in part noting that “claims based on fraud on the market
25   theory are fact-specific and generally for the trier of fact to decide.” Similarly, in McCrary, 2014 WL
     12561600 at *12, the court denied plaintiff’s request for summary judgment on the issue of reliance
26   precisely because the presumption of reliance under the relevant law in that case, like this one,
     required proof of materiality, which “is generally a question of fact for the jury.” (quotation omitted).
27
     Finally, in In re Infineon Techs. AG Sec. Litig., 266 F.R.D. 386 (N.D. Cal. 2009) did not even involve
28   a summary judgment motion on the issue of reliance.

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 1 on-the-market presumption—he has not—that would still be insufficient to grant summary judgment

 2 on the issue of reliance since the presumption is rebuttable. Although Plaintiff claims that

 3 “Defendants did not contest any of Dr. Hartzmark’s findings or Plaintiff’s contention that Tesla’s

 4 stock traded in an efficient market” (Mot. at 24), Plaintiff overlooks that Defendants can also rebut the

 5 presumption if the “‘market makers’ were privy to the truth” about information allegedly concealed,

 6 or second, if “news of [the allegedly concealed truth] credibly entered the market and dissipated the

 7 effects of the misstatement.” In re Allstate Corp. Sec. Litig., 966 F.3d 595, 606 (7th Cir. 2020)

 8 (citation omitted). “Under the first option, the defense shows that only true information was

 9 impounded in the market price at the time of purchase; the second option does the same by the time of

10 sale.” Id. Here, there are genuine issues of fact with respect to both defenses.

11           First, Defendants’ expert put forward evidence that the market understood from the beginning
12 that the entire proposal and source of funding was uncertain. (Ex. N at ¶¶ 15-22.) Thus, there is

13 sufficient evidence from which the jury can infer that market understood that funding secured did not

14 mean that there was some sort of signed term sheet or formal agreement regarding funding.

15           Second, as noted above, following Mr. Musk’s August 13 blog post, Tesla’s stock did not
16 decline. Thus, the jury is entitled to infer that either the original statement was immaterial to begin

17 with—in which case the presumption does not apply—or that by virtue of, among other things the

18 evidence detailed in the Fischel Report, the market understood the truth regarding the meaning of

19 “funding secured” prior to the August 13 blog post—in which case the presumption is also rebutted.

20 Either way, as the Supreme Court has recognized, these defenses should be heard at trial. Basic, 485

21 U.S. at 249 & n. 29 (proof that information “credibly entered the market and dissipated the effects of

22 the misstatements” “is a matter for trial.”). Accordingly, Plaintiff’s request for summary judgment

23 with respect to the element of reliance should be denied.15

24
        15
25         Plaintiff’s Motion is defective on other grounds as well. First, Plaintiff seeks summary
   judgment against both Tesla and Mr. Musk, but Plaintiff failed to include any evidence that Tesla had
26 “ultimate authority over [Mr. Musk’s] statement [concerning going private], including its content and
   whether and how to communicate it.” Janus Cap. Grp., Inc. v. First Derivative Traders, 564 U.S.
27
   135, 142 (2011). On this basis alone Plaintiff’s Motion must be denied as to Tesla. Second, while the
28 Motion purports to be against Tesla’s board members (as well as Tesla and Mr. Musk), the relief

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 1                                           CONCLUSION

 2         For the foregoing reasons, Defendants respectfully request that the Court deny in its entirety

 3 Plaintiff’s Motion for Partial Summary Judgment.

 4

 5 DATED: February 1, 2022                Respectfully submitted,

 6                                        QUINN EMANUEL URQUHART & SULLIVAN, LLP
 7
                                          By: /s/ Alex Spiro
 8                                           Alex Spiro (appearing pro hac vice)
                                             Attorneys for Tesla, Inc., Elon Musk, Brad W. Buss,
 9                                           Robyn Denholm, Ira Ehrenpreis, Antonio J. Gracias,
10                                           James Murdoch, Kimbal Musk, And Linda Johnson Rice

11

12

13                                          ATTESTATION
14         I, Kyle K. Batter, am the ECF user whose ID and password are being used to file the above
15 document. In compliance with Local Rule 5-1(h)(3), I hereby attest that Alex Spiro has concurred

16 in the filing of the above document.

17                                                              /s/ Kyle K. Batter
18                                                              Kyle K. Batter
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   sought is limited to the claims against Tesla and Mr. Musk. (Notice of Motion.) The director
28 defendants have no place in Plaintiff’s Motion.

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